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CAROLYN RENA DAVIS C,L) M Cause No. 3:19-CR-083-S

 

MOTION TO SEAL INFORMATION

The United States"of America (“the Government”) respectively moves this Honorable
Court to seal the above-styled and numbered information, as public knowledge of the
information at this time could compromise an ongoing public corruption investigation
One additional person has been indicted and that matter, United States v. Ruel M. Hamilton,
Cause No. 3219-CR-083-S, is also currently under seal.

WHEREFORE, PREMISES CONSIDERED, the United States respectfully requests
the Court seal the above-entitled and numbered information for a short time to preserve the
integrity of the investigation

Respectfully submitted,

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UNITED STATES ATTORNEY

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